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Form BLdfnld7 (5/17/2004)

                                   United States Bankruptcy Court
                                           Eastern District of New York
                                                 75 Clinton Street
                                               Brooklyn, NY 11201

  IN RE:                                                                                     CASE NO: 1−04−17182−jf
    Neil Sebastiano
  SSN/TAX ID:                                                                                              CHAPTER: 7
    xxx−xx−1401
                        DEBTOR(s)




                                        DISCHARGE OF DEBTOR(S)
                                        ORDER OF FINAL DECREE

 A petition under title 11, United States Code was filed by or against the Debtor(s) on May 13, 2004; an order for
 relief was entered under Chapter 7; no order denying a discharge has been granted.


 It appearing that the debtor(s) is entitled to a discharge and the estate of the above named debtor(s) has been fully
 administered.


 IT IS ORDERED :




        • The debtor(s) is granted a discharge under Section 727 of Title 11, United States Code, (the Bankruptcy
          Code).

        • David J Doyaga (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and the bond
          is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                             BY THE COURT

 Dated: September 13, 2004                                   s/ Jerome Feller
                                                             United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

       This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case
and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For
example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to
attach wages or other property, or to take any other action to collect a discharged debt from the debtor. [In a case
involving community property:] [There are also special rules that protect certain community property owned by the
debtor's spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required
to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest,
against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case.
Also, a debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

      The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this
case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to
debts owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

       Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

       a. Debts for most taxes;

       b. Debts that are in the nature of alimony, maintenance, or support;

       c. Debts for most student loans;

       d. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

       e. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle while intoxicated;

       f. Some debts which were not properly listed by the debtor;

       g. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
       discharged;

       h. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
       compliance with the Bankruptcy Code requirements for reaffirmation of debts.


      This information is only a general summary of the bankruptcy discharge. There are exceptions
to these general rules. Because the law is complicated, you may want to consult an attorney to determine the
exact effect of the discharge in this case.
